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EXHIBIT C

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From: Pat Thrasher <tigharpat@mac.com>
Subject: Fwd: Funding AE Project

Date: March 22, 2012 9:28:39 PM EDT
To: Ric Gillespie <tigharic@me.com>

Uh.... ain't they gone? <G>

Begin forwarded message:
From: Timothy Mellon
<panam.captain@yahoo.com>
Subject: Funding AE Project
Date: March 22, 2012 6:58:21 PM EDT

To: "info@tighar.org" <info@tighar.org>
Content-Type: multipart/alternative;
boundary="-16826637 10-1384960885-1332
457101=:97641"

I am interested in talking to Mr. Gillespie about funding opportunities
for your Amelia Earhart and other projects. My phone is 307.745.0414,
and I can be reached evenings and weekends the best.

Thank you,

Tim Mellon
Chairman, Pan American Airlines Corporation (Pan Am Systems)

